      Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 1 of 19 PageID: 1




                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 JOHN DOE (said name being fictitious),
                                                               Civil No.
                                Plaintiff,
 v.

 DELAWARE VALLEY REGIONAL HIGH SCHOOL
 BOARD OF EDUCATION, SCOTT MCKINNEY,                                 VERIFIED COMPLAINT
 individually and in his official capacity as Superintendent          AND JURY DEMAND
 of Schools, ASHLEY MIRANDA, individually and in
 her official capacity as school counselor, MATTHEW J.
 PLATKIN, in his official capacity as Attorney General of
 the State of New Jersey, ANGELICA ALLEN-
 McMILLAN, in her official capacity as Acting
 Commissioner of the New Jersey Department of
 Education, and JOHN ROES 1-10 (said names being
 fictitious), individually and in their official capacities,

                                Defendants.


          The plaintiff John Doe, said name being fictitious, by his attorneys Murray-Nolan Berutti

LLC, with knowledge as to his own acts, and on information and belief as to all others, alleges as

follows:

                                             OVERVIEW

          1.     This matter arises out of the actions taken by staff members at Delaware Valley

Regional High School (“DVRHS”), under the auspices of the Delaware Valley Regional High

School Board of Education (“Board”), the Attorney General of New Jersey (“AG”), and the New

Jersey Department of Education (“NJDOE”), to socially transition Jane Doe (“Jane”), a minor

child, from female to male without informing the plaintiff John Doe, her father, or seeking his

consent. Mr. Doe has repeatedly expressed his objections to such acts and has been advised that

the acts shall continue regardless, purportedly due to requirements of state discrimination law and

policy.

                                                  1
      Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 2 of 19 PageID: 2




       2.      The Board’s actions constitute deliberate interference with Mr. Doe’s fundamental

constitutional right to care for and raise his child, a liberty interest under the Fourteenth

Amendment of the United States Constitution, as determined by the Supreme Court in Troxel v.

Granville, 530 U.S. 57 (2000) (plurality). Such acts, and the enforcement of the laws and policies

on which such interference purportedly is based, must immediately be restrained and enjoined

since Mr. Doe is being deprived of his constitutional right to make critical child-rearing decisions

concerning the care, custody, and control of his minor child. Defendants’ actions are subject to

strict scrutiny and must be narrowly tailored to advance a compelling state interest, a standard

which cannot be satisfied by defendants under the circumstances presented.

       3.      Defendants’ actions and the laws and policies upon which they are purportedly

based also violate Mr. Doe’s rights to be the primary person responsible for his child’s education,

in violation of 20 U.S.C. §3401(3).

       4.      Defendants’ actions and the laws and policies upon which they are purportedly

based also violate Mr. Doe’s parental rights as guaranteed by the New Jersey Constitution.

       5.      Mr. Doe seeks to vindicate his fundamental rights of parenting, including the rights

to have primary authority in the upbringing of his children and the right to make healthcare and

medical decisions for his child without interference by the State. Thus, Mr. Doe seeks a

Declaratory Judgment that defendants’ acts and public policies are unconstitutional, an injunction

prohibiting such interference with his constitutional and statutory rights and against the

enforcement of contrary laws and public policies, and an award of monetary damages against the

Board, the Superintendent, and individual employees of the school district who have violated his

fundamental rights.

                                         THE PARTIES

       1.      John Doe (“Mr. Doe”) is a loving and caring father of minor child Jane Doe

                                                 2
       Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 3 of 19 PageID: 3




(“Jane”), who is a student at DVRHS, which is a regional high school located at 19 Senator Stout

Road, Frenchtown, New Jersey.

        2.      Defendant Scott McKinney (“McKinney”) is an individual residing at 233 Short

Hills Drive, Bridgewater, New Jersey, is the Superintendent of DVRHS, and as such is the chief

executive of the school district. He is named individually and in his official capacity.

        3.      Defendant Ashley Miranda (“Miranda”) is an individual residing at 406 Saddle Ct.

Flemington, New Jersey 08822. She is named individually and in her official capacity.

        4.      The Board is duly organized and formed pursuant to the laws of the State of New

Jersey with respect to the establishment of school districts and school boards and receives federal

funding.

        5.      Matthew J. Platkin is the Attorney General of the State of New Jersey and is named

only in his official capacity.

        6.      Defendant Angelica Allen-McMillan is Acting Commissioner of the NJDOE and

is named only in her official capacity.

        7.      John Roes 1-10 is a fictitious name for Board members and/or employees who aided

in the violations of Mr. Doe’s rights as set forth herein.

        8.      All defendants are state actors.

                                 JURISDICTION AND VENUE

        9.      This action is brought pursuant to 42 U.S.C. § 1983 and 28 U.S.C. § 2201, such

that federal question jurisdiction exists pursuant to 28 U.S.C. § 1331.

        10.     Supplemental jurisdiction exists over state law claims pursuant to 28 U.S.C. § 1367.

        11.     Venue is appropriate pursuant to 28 U.S.C. § 1391(b) since defendants reside in the

District, and the events and omissions complained of occurred in the District.




                                                   3
      Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 4 of 19 PageID: 4




                            FACTS COMMON TO ALL COUNTS

       12.     Jane is a minor child who has a documented diagnosis of Attention-

Deficit/Hyperactivity Disorder (“ADHD”) and Unspecified Mental Disorder (“UMD”).

       13.     Jane, who endured the childhood trauma of the death of her mother, has been under

the care of a therapist for depression, anxiety, and gender confusion since April 21, 2022. Mr. Doe

and mental health professionals have agreed to take a cautious approach to Jane’s gender confusion

given her underlying trauma and psychiatric co-morbidities.

       14.     The Board has a policy titled “5756 - Transgender Students,” (“Board Policy

5756”) a true copy of which is attached hereto as Exhibit A and which is incorporated herein by

reference, which provides, in part:

       The school district shall accept a student’s asserted gender identity; parental
       consent is not required. A student need not meet any threshold diagnosis or
       treatment requirements to have his or her gender identity recognized and respected
       by the school district, school, or school staff members. In addition, a legal or court-
       ordered name change is not required. There is no affirmative duty for any school
       district staff member to notify a student’s parent of the student’s gender identity or
       expression.

       15.     The NJDOE published guidance to New Jersey public schools encourages them to

take a “student-centered approach” to students who believe themselves to be transgender, which

declares, “school district personnel should have an open, but confidential discussion with the

student to ascertain the student’s preference on matters such as chosen name, chosen pronoun use,

and parental communications.” A true copy of such guidance is attached hereto as Exhibit B and

is incorporated herein by reference.

       16.     Upon information and belief, the AG is actively litigating the legal position that

although such policy is merely guidance, school districts must follow it since to do otherwise

would violate the New Jersey Law Against Discrimination, N.J.S.A. 10:5-1 et seq., which provides

certain anti-discrimination provisions with respect to gender identity.

                                                 4
      Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 5 of 19 PageID: 5




          17.   When a student’s name and pronouns are changed by a school so that the student

can live as the opposite sex while at school and/or elsewhere, the school is initiating a social

transition. Social transition is a psychotherapeutic intervention and is not a neutral act. Cass, H.,

Independent review of gender identity services for children and young people: Interim report

(2022).

          18.   Gender dysphoria is considered a serious mental-health condition that requires

professional help. “Since it is impossible to definitively delineate the contribution of various

factors contributing to gender identity development for any given young person, a comprehensive

clinical approach is important and necessary” Standards of Care for the Health of Transgender

and Gender Diverse People, Version 8, WPATH, International J. Trans. Health 2022, Vol. 23, No.

S1-S258 (2022) (“WPATH”).

          19.   Parents must be permitted to seek a mental health evaluation prior to any

psychological    intervention.   Mental    health       providers   “should   provide   guidance   to

parents/caregivers and supports to a child when a social gender transition is being considered” so

that the parents can succeed in “making informed decisions about the advisability and/or

parameters of a social transition for their child.” WPATH at S78

          20.   As a freshman at DVRHS, Jane participated in an extracurricular club known as

Students Advocating for Equality (“SAFE”), which purportedly exists or claims to exist to

“promote open discussion and awareness about modern cultures and topics surrounding

intersectionality while aiming to make positive contributions to our community and school.”

          21.   Miranda is the staff advisor of SAFE and is neither a state licensed medical doctor

nor psychologist.

          22.   Jane attended a SAFE meeting and expressed to defendant Miranda that she would

like to undergo a social transition from female to male in school. Miranda immediately affirmed

                                                    5
       Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 6 of 19 PageID: 6




Jane’s expressed identity and began to facilitate Jane’s social transition.

       23.     Miranda did not ask Jane about her mental health history, her history of trauma, or

whether Jane was currently under the care of a mental health professional.

       24.     Contrarily, Miranda asked Jane if she would like to change her name and pronouns

and be known only as a male at school, to which Jane agreed.

       25.     Miranda sent a communication to the entire staff of DVRHS other than two

teachers. In such communication, Miranda informed staff of Jane’s name change and advised that

all such staff were required thereafter to use the alternate male name by which Jane desired to be

called. Staff were also informed that Mr. Doe was not to be informed of Jane’s social transition.

       26.     The only exception is that Miranda decided not to send the communication to two

teachers, both of whom have contacts with members of the Doe household. The purpose of

excluding such teachers, Sarah Hall and Kari Gursky, from the email was to keep Mr. Doe from

learning of Jane’s social transition which was taking place at DVRHS.

       27.     Thereafter, when communicating with Mr. Doe about his daughter, and before Mr.

Doe eventually learned of the social transition of his daughter at DVRHS, the school always uses

Jane’s given female name, which was done for the purpose of concealing Jane’s social transition

at DVRHS, thus demonstrating a knowing interference with Mr. Doe’s rights.

       28.     In December 2023, months after it commenced, Mr. Doe learned of Jane’s social

transition at school when another parent called Jane by a boy’s name in his presence. Only after

Mr. Doe inquired of the parent why the parent was calling Jane by a boy’s name, the parent

explained to Mr. Doe that Jane was being called by such name at school since she was being

socially transitioned.

       29.     Upon learning that Jane had been provided with a separate identity at school and

that DVRHS and its staff was intentionally concealing such fact from him, and due to his

                                                  6
       Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 7 of 19 PageID: 7




daughter’s distress at living a second life, Mr. Doe placed Jane on home instruction until he could

share Jane’s personal and therapeutic history with McKinney, Ashley, and the Board (the “Board

Defendants”).

        30.     On December 8, 2023, Mr. Doe met with DVRHS administration as well as

Miranda, who indicated that she was not aware of Jane’s ADHD and UMD diagnoses or her past

trauma when she facilitated Jane’s social transition. Miranda also advised that she was unaware

that Jane was under the care of a therapist at Mr. Doe’s parental direction and with his consent.

        31.     Mr. Doe informed the District that he and Jane’s therapist were not in agreement

with Jane’s social transition and expressly denied his consent to the continuance of Jane’s social

transition at school.

        32.     The District advised that it would continue to have Jane called by a male name until

such time as Jane indicated otherwise, such that it specifically and deliberately insisted on

interfering directly with protected aspects of Mr. Doe’s parent-child relationship.

        33.     Following the meeting, a Cease and Desist letter was served on the Board

Defendants. The Cease and Desist letter asserted, among other things, that Mr. Doe’s parental

rights were being violated. A true copy of the Cease and Desist letter is attached hereto as Exhibit

C, and is incorporated herein by reference.

        34.     Thereafter on December 8, 2023, a letter was forwarded by Mr. Doe’s attorneys

which confirmed the critical events of the meeting that had occurred, reiterated that a Cease and

Desist was served, and renewed the demand that the Board Defendants cease and desist from

socially transitioning Jane against Mr. Doe’s parental judgment as to Jane’s best interests. A true

copy of such letter is attached hereto as Exhibit D and is incorporated herein by reference.

        35.     On December 22, 2023, the Board Defendants responded via legal counsel, who

advised that Jane was approved for home instruction, but “that the District will continue to abide

                                                 7
      Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 8 of 19 PageID: 8




by federal and state law as well as the Department of Education guidance regarding transgender

students to ensure that the District is not discriminating against a student based on gender identity

or expression.” A true copy of such letter is attached hereto as Exhibit E and is incorporated herein

by reference.

       36.      Consequently, the Board Defendants again specifically and deliberately interfered

with constitutionally and statutorily protected aspects of Mr. Doe’s parent-child relationship and

expressed deliberate indifference to Mr. Doe’s fundamental rights and further interfered with such

constitutional and statutory rights by establishing a policy that the only way Jane could return to

the classroom is if Mr. Doe chose to waive his constitutional and statutory parental rights and to

abide by the Board Defendants’ violations thereof, based on the Board Defendants’ interpretation

of law and public policy, as to Policy 5756’s guidance.

       37.      On January 2, 2024, counsel for the Board Defendants further noted in an email to

Mr. Doe’s attorney that the school district had a goal to implement “home instruction” for Jane in

a public library, but that “to ensure there is no misunderstanding,” Mr. Doe should “know that

during home instruction the teachers will comply with district policy, NJDOE guidance, and

federal and state laws regarding A.H.’s name preference.”

       38.      Consequently, the Board Defendants again specifically and deliberately interfered

with constitutionally and statutorily protected aspects of Mr. Doe’s parent-child relationship,

expressed deliberate indifference to Mr. Doe’s fundamental rights, and further interfered with such

constitutional and statutory rights by establishing a policy that made it impossible for Jane to

receive a public education unless Mr. Doe yielded his constitutional and statutory parental rights.

       39.      There is no fundamental constitutional right for Jane to socially transition, and the

Board Defendants have no compelling government interest in requiring the social transition of

Jane to proceed. Moreover, even if such compelling government interest did exist, which it does

                                                  8
       Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 9 of 19 PageID: 9




not, the Board Defendants’ actions are not narrowly tailored to achieve such interest.

       40.     The AG and NJDOE have no compelling government interest in promulgating and

enforcing laws and public policies that interfere with parents’ fundamental constitutional and

federal statutory rights, as is the case with Mr. Doe, and even if such compelling government

interest did exist, which it does not, the AG and NJDOE’s actions are not narrowly tailored to

achieve such interest.

       41.     Mr. Doe has no other viable alternative other than to send Jane to DVRHS. In light

of the willful and deliberate violations to his rights that have occurred, and the promise of

continued violations of the same rights based on the purported basis of Board Policy 5756, NJDOE

guidance, and federal and state laws which alleged to require as much, Mr. Doe hereby seeks the

immediate protection of his parental rights.

       42.     Such rights also include Mr. Doe’s parental right for Jane to receive “maintenance

and support for a thorough and efficient system of free public school instruction,” in keeping with

N.J. Cont. Art. 8 §1.

       43.     Further, given the District’s intransigent insistence that even during what

purportedly is “home instruction” it will deliberately violate Mr. Doe’s rights, Mr. Doe seeks

appointment of an independent monitor to ensure that defendants do not interfere with his rights

upon Jane’s return to school.

                                       FIRST COUNT
                           (Declaratory Judgment 28 U.S.C. § 2201)

       1.      Mr. Doe repeats and reasserts each and every allegation above as is fully set forth

herein at length.

       2.      An actual controversy exists among the parties hereto within the jurisdiction of this

Court as to their rights and responsibilities which is appropriate for declaration of the rights and

other legal relations among and between them with respect to the matters set forth above.
                                                 9
     Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 10 of 19 PageID: 10




        3.      “It is cardinal with … [the United States Supreme Court] that the custody, care and

nurture of the child reside first in the parents, whose primary function and freedom include

preparation for obligations the state can neither supply nor hinder." Troxel v. Granville, 530 U.S.

57, 65-66 (2000) (plurality).

        4.      The rights to “to teach and the right of parents to engage … so to instruct their

children … are within the liberty of the [Fourteenth] Amendment.” Meyer v. Nebraska, 262 U.S.

390, 400 (1923); Troxel, supra, 530 U.S. at 77 (Thomas, J., concurring).

        5.      The United States Supreme Court has thus “recognized the fundamental right of

parents to make decisions concerning the care, custody, and control of their children.” Id. at 66

        6.      Accordingly, “so long as a parent adequately cares for his or her children (i.e., is

fit), there will normally be no reason for the State to inject itself into the private realm of the family

to further question the ability of that parent to make the best decisions concerning the rearing of

that parent's children.” Id. at 68-69

        7.      There is a “presumption that a fit parent will act in the best interest of his or her

child.” Id. at 69

        8.      The United States Supreme Court’s “decisions establish that the Constitution

protects the sanctity of the family precisely because the institution of the family is deeply rooted

in this Nation's history and tradition.” Moore v. East Cleveland, 431 U.S. 494, 503-504 (1977)

(plurality).

        9.      20 U.S.C. §3401(3) is the supreme law of the land, and provides, in pertinent part,

that “parents have the primary responsibility for the education of their children, and States,

localities, and private institutions have the primary responsibility for supporting that parental role.”

        10.     There is no fundamental right of minor children under the United States

Constitution to socially transition without their parents’ knowledge or consent.

                                                   10
     Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 11 of 19 PageID: 11




       11.     The NJDOE’s Policy 5756 violates Mr. Doe’s fundamental constitutional rights

under the Fourteenth Amendment’s Due Process Clause, without limitation, since it promites the

substitution of the judgment of school districts, school administrators, and school staff members

for that of parents with respect to important aspects of their children’s mental health, welfare, and

ultimately physical health, should social transitioning lead to the child’s desire to progress with

medical transitioning, and, thus, is void and unenforceable.

       12.     To the extent that the NJLAD, N.J.S.A. 10:5-1 et seq. or other state law is intended

to preclude parental knowledge and consent of social transitioning of their minor children in

schools, it violates fundamental constitutional parental rights under the Fourteenth Amendment’s

Due Process Clause, since it substitutes the judgment of public officials for that of parents with

respect to important aspects of their children’s mental health, welfare, and ultimately physical

health should social transitioning lead to the child’s desire to progress with medical transitioning

and, thus, is void and unenforceable.

       13.     The NJDOE Policy 5756 and Board Policy 5756 violate fundamental constitutional

parental rights since they substitute the judgment of public officials for that of parents with respect

to important aspects of their children’s education, including related to issues concerning mental

health, welfare, and physical health, should social transitioning lead to the child’s desire to

progress with medical transitioning, and, thus, are void and unenforceable.

       14.     The NJDOE’s guidance violates 20 U.S.C. §3401(3), since the state’s school

districts receive federal funding, and the guidance removes parents from having primary

responsibility for the education of their children and places the primary responsibility for the

education of children as to social transitioning with state and localities that do not necessarily

support the parental role, but rather interfere with the parental role, as in Mr. Doe’s case.

       15.     To the extent that the NJLAD is intended to preclude parental knowledge and

                                                  11
     Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 12 of 19 PageID: 12




consent of social transitioning of their minor children, it is contrary to and cannot be harmonized

with the responsibilities of school districts in the state to support parents’ educational upbringing

of their minor children per 20 U.S.C. §3401(3) and, thus, is unconstitutional as violating the

Supremacy Clause, U.S. Const. Art. VI, Cl. 2, such that it void and unenforceable.

       16.     The District’s Policy 5756 is unconstitutional as violating the Supremacy Clause,

U.S. Const. Art. VI, Cl. 2, since the district receives federal funding and is thus required to comply

with 20 U.S.C. §3401(3), which it is violating.

       17.     To the extent that any other federal or state laws or policies on which defendants,

or some of them, purport to rely in further proceeding with Jane’s social transition, such laws

and/or policies are void and unenforceable by reason of their violating the Fourteenth

Amendment’s Due Process Clause and/or 20 U.S.C. §3401(3), in whole or in part, for the reasons

set forth above.

       18.     There is no compelling governmental interest in the State, the Board Defendants,

or anyone operating under the Board’s authority to socially transition a minor child without the

fully informed consent of the child’s parents.

       19.     The Board Defendants have shown an outward contempt of Mr. Doe’s parental

rights and have promised to compel Jane’s continued social transition despite Mr. Doe’s demands

to the contrary such that his constitutional and statutory parental rights are knowingly and

contumaciously being impaired, such that independent monitoring of the District’s practices as

related the violation of Mr. Doe’s rights must be required.

       WHEREFORE, the plaintiff demands judgment in his favor, and against defendants, as

follows:

       A.      Declaring that so long as he is a fit parent, which is presumed, Mr. Doe has a

fundamental right pursuant to the Fourteenth Amendment’s Due Process Clause to direct the

                                                  12
     Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 13 of 19 PageID: 13




upbringing of his child including, without limitation, with respect to all issues related to his child’s

mental health, welfare, and physical health, without interference by defendants in the absence of a

compelling governmental interest which is narrowly tailored to achieve such interest;

        B.      Declaring that there is no compelling governmental interest in any of the

defendants, all of whom and which are state actors, to socially transitioning a child without the

fully informed consent of the child’s parents or legal guardians;

        C.      Declaring the NJLAD, N.J.S.A. 10:5-1 et seq., to be unconstitutional and void under

the Fourteenth Amendment’s Due Process Clause to the extent that it is would deprive parents of

fully informed knowledge and consent with respect to any aspect of their children’s education

including, without limitation, issues related to his child’s mental health, welfare, and physical

health, and social transitioning in particular;

        D.      Declaring the NJDOE’s Policy 5756 and Board Policy 5756 to be unconstitutional

and void under the Fourteenth Amendment’s Due Process Clause since they deprive parents of

fully informed knowledge and consent with respect to aspects of their children’s education

including, without limitation, issues related to his child’s mental health, welfare, and physical

health, and social transitioning in particular;

        E.      Declaring the NJDOE’s guidance to be in violation of 20 U.S.C. §3401(3), such

that it is unconstitutional and void under Article VI, Cl. 2 of the United States Constitution;

        F.      Declaring the NJLAD, N.J.S.A. 10:5-1 et seq., to be in violation of 20 U.S.C.

§3401(3), to the extent that it is deprives parents of fully informed knowledge and consent with

respect to any aspect of their children’s education including, without limitation, issues related to

his child’s mental health, welfare, and physical health, and social transitioning in particular such

that it is unconstitutional and void under Article VI, Cl. 2 of the United States Constitution;




                                                  13
     Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 14 of 19 PageID: 14




         G.    Declaring the District’s Policy 5756 to be in violation of 20 U.S.C. §3401(3), such

that it is unconstitutional and void under Article VI, Cl. 2 of the United States Constitution;

         H.    Declaring that there is no fundamental constitutional right for a minor to socially

transition;

         I.    Permanently restraining and enjoining the AG and anyone acting under him from

enforcing the New Jersey Law Against Discrimination, N.J.S.A. 10:5-1 et seq. or any other state

law to the extent that it may deprive parents of fully informed knowledge and consent with respect

to any aspect of their children’s education including, without limitation, issues related to his child’s

mental health, welfare, and physical health, and social transitioning in particular;

         J.    Permanently restraining and enjoining the Acting Commissioner of the NJDOE and

anyone acting under her from providing guidance to school districts in accordance with Policy

5756 or otherwise which would deprive parents of fully informed knowledge and consent with

respect to any aspect of their children’s education including, without limitation, issues related to

his child’s mental health, welfare, and physical health, and social transitioning in particular;

         K.    Permanently restraining and enjoining the District, Superintendent, the Board, and

all employees thereof, from enforcing Board Policy 5756 and otherwise acting to socially

transition the plaintiff’s daughter without his fully informed knowledge and consent;

         L.    Providing temporary restraints and preliminary injunctive relief as needed;

         M.    Compelling the Board to provide mainstream classroom instruction to Jane;

         N.    Appointing an independent monitor to protect Mr. Doe’s parental rights, at the

Board’s sole expense, upon Jane’s return to school;

         O.    Awarding the plaintiff all costs of suit, including reasonable attorneys’ fees and

costs;

         P.    Awarding such other and further relief as may be equitable and just.

                                                  14
     Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 15 of 19 PageID: 15




                                         SECOND COUNT
                                 (42 U.S.C. § 1983 – Parental Rights)

       1.      Mr. Doe repeats and reasserts each and every allegation above as is fully set forth

herein at length.

       2.      The Board Defendants have knowingly and contumaciously committed and

continue to commit a constitutional tort by socially transitioning Mr. Doe’s minor daughter without

parental notification or consent so as to frustrate his right to direct the upbringing of his child

including, without limitation, issues related to his child’s mental health, welfare, and physical

health, without interference by the state in violation of Mr. Doe’s fundamental liberty interests as

set forth above, in violation of the Fourteenth Amendment’s Due Process clause.

       3.      There is no compelling, significant, or other reasonable governmental interest in

the Board Defendants’ socially transitioning Jane in violation of Mr. Doe’s fundamental

constitutional parental rights as aforesaid, and their acts in such regard otherwise are arbitrary,

capricious, and/or irrational.

       4.      Defendants’ actions are purportedly based on reliance on federal and state law and

policy which compels such actions all of which such laws and policies including, without

limitation, N.J.S.A. 10:5-1 et seq., and the NJDOE’s Policy 5756, enforcement and promulgation

of which by state actors violates the federal constitutional and statutory rights of parents as

aforesaid, such that they violate the Supremacy Clause of the Constitution.

       5.      By their actions, defendants have deprived the plaintiff of the rights, privileges, or

immunities secured by the Constitution, to wit, the Fourteenth Amendment of the Constitution,

and are causing severe and permanent damages, including, without limitation, emotional distress,

economic damages, physical harm, and consequential damages.

       WHEREFORE, the plaintiff demands judgment in his favor, and against defendants, as

follows:
                                                 15
     Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 16 of 19 PageID: 16




        A.      Compensatory Damages against the Board Defendants and John Roes 1-10 only;

        B.      Punitive Damages against the Board Defendants and John Roes 1-10 only;

        C.      Consequential Damages against the Board Defendants and John Roes 1-10 only;

        D.      Permanently restraining and enjoining the Board Defendants, and anyone acting

under their authority, from socially transitioning the plaintiff’s daughter or otherwise interfering

with his parental rights;

        E.      Permanently restraining and enjoining the AG and anyone acting under him from

enforcing the New Jersey Law Against Discrimination, N.J.S.A. 10:5-1 et seq. or any other state

law to the extent that it may deprive parents of fully informed knowledge and consent with respect

to any aspect of their children’s education including, without limitation, issues related to his child’s

mental health, welfare, and physical health, and social transitioning in particular;

        F.      Permanently restraining and enjoining the Acting Commissioner of the NJDOE and

anyone acting under her from providing guidance to school districts in accordance with Policy

5756 or otherwise which would deprive parents of fully informed knowledge and consent with

respect to any aspect of their children’s education including, without limitation, issues related to

his child’s mental health, welfare, and physical health, and social transitioning in particular;

        G.      Permanently restraining and enjoining the District, Superintendent, the Board, and

all employees thereof, from enforcing Board Policy 5756 and otherwise acting to socially

transition the plaintiff’s daughter without his fully informed knowledge and consent;

        H.      Appointing an independent monitor to protect Mr. Doe’s parental rights, at the

Board’s sole cost and expense, upon Jane’s return to school;

        I.      Awarding the plaintiff all costs of suit, including reasonable attorneys’ fees and

costs, per statute;

        J.      Awarding interest as allowed by law;

                                                  16
     Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 17 of 19 PageID: 17




       K.      Awarding such other and further relief as may be equitable and just.

                                         THIRD COUNT
                               (Violation of N.J.S.A. 10:6-2 et seq.)

       1.      Mr. Doe repeats and reasserts each and every allegation above as if fully set forth

herein at length.

       2.      Defendants, by their conduct, have acted under color of law so as to interfere and/or

attempt to interfere by means of express or implied threats, intimidation, and coercion with the

exercise and enjoyment by Mr. Doe of his due process rights, privileges, and/or immunities secured

by the Constitution or laws of the United States, and the New Jersey Constitution as aforesaid,

including, without limitation, the right to parent a minor child who is receiving a thorough and

efficient education, such that they have caused Mr. Doe damage in violation of the New Jersey

Civil Rights Act, N.J.S.A. 10:6-2 et seq.

       WHEREFORE, the plaintiff demands judgment in his favor, and against defendants as

follows:

       A.      Compensatory Damages against the Board Defendants and John Roes 1-10 only;

       B.      Punitive Damages against the Board Defendants and John Roes 1-10 only;

       C.      Consequential Damages against the Board Defendants and John Roes 1-10 only;

       D.      Permanently restraining and enjoining the AG and anyone acting under him from

enforcing the New Jersey Law Against Discrimination, N.J.S.A. 10:5-1 et seq. or any other state

law to the extent that it may deprive parents of fully informed knowledge and consent with

respect to any aspect of their children’s education including, without limitation, issues related to

his child’s mental health, welfare, and physical health, and social transitioning in particular;

       E.      Permanently restraining and enjoining the Acting Commissioner of the NJDOE

and anyone acting under her from providing guidance to school districts in accordance with

Policy 5756 or otherwise which would deprive parents of fully informed knowledge and consent
                                                 17
     Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 18 of 19 PageID: 18




with respect to any aspect of their children’s education including, without limitation, issues

related to his child’s mental health, welfare, and physical health, and social transitioning in

particular;

        F.     Permanently restraining and enjoining the District, Superintendent, the Board, and

all employees thereof, from enforcing Board Policy 5756 and otherwise acting to socially

transition the plaintiff’s daughter without his fully informed knowledge and consent;

        G.     Appointing an independent monitor to protect Mr. Doe’s parental rights, at the

sole expense of the school district, upon his daughter’s return to school;

        H.     Awarding the plaintiff all costs of suit, including reasonable legal fees and costs,

per statute;

        I.     Awarding interest as allowed by law;

        J.     Awarding such other and further relief as may be equitable and just.

                                         JURY DEMAND

        The plaintiff demands trial by jury on all Counts so triable.

                                              MURRAY-NOLAN BERUTTI LLC
                                              Attorneys for Defendants/Counterclaimants/Third
                                              Party Plaintiffs.

                                              s/ Ronald A. Berutti
                                              _______________________________________
                                              Ronald A. Berutti

Dated: January 5, 2024




                                                 18
        Case 3:24-cv-00107 Document 1 Filed 01/05/24 Page 19 of 19 PageID: 19




                                   VERIFICATION UNDER OATH

           John Doe of full age, being duly sworn upon his or her oath according to law deposes and

says:

           1. I am the plaintiff in this matter.

           2. I have read the Complaint and aver that the facts contained therein are true to the best

of my knowledge except as to those matters stated on information and belief, which I believe to

be true.

                                                   __________________________________
                                                   John Doe

Dated: January 5, 2024




                                                     19
